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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN


  TIMOTHY KING,MARIAN ELLEN SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES DAVID HOOPER and DAREN WADE
  RUBINGH,

                             Plaintiffs.

                                           Case No. 20-cv-13134
                                           Hon. LINDA V. PARKER
  v.

  GRETCHEN WHITMER, in her official capacity as Governor of the State of Michigan,
  JOCELYN BENSON, in her official capacity as Michigan Secretary of State and the
  Michigan BOARD OFSTATE CANVASSERS.

                               Defendants.
  ________________________________________________/
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                                              /

                               APPEARANCE OF COUNSEL

         PLEASE ENTER the Appearance of the Undersigned, STEFANIE LYNN

   JUNTTILA, on behalf of the named Plaintiffs TIMOTHY KING,MARIAN ELLEN

   SHERIDAN, JOHN EARL HAGGARD, CHARLES JAMES RITCHARD, JAMES

   DAVID HOOPER and DAREN WADE RUBINGH.

         KINDLY FORWARD all future notices and pleadings to the undersigned

                                     Respectfully submitted,

                                     /s/ Stefanie Lynn Junttila
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